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                UNITED STATES DISTRICT COURT
              MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
                                              No.   4:18-CR-174


(1) GAVIN REXER,                                     (Judge Brann)
(2) DENNIS PAULHAMUS,
(3) JOSEPH POWELL,
(4) JOHN JOSEPH, and
(5) TIMOTHY SWEITZER.

                          Defendants

                            INFORMATION

THE I.INITED STATES ATTORNEY CHARGES:

     At times material to this Information:

                   Relevant Individuals and Entities

     1.    Rockwater Northeast LLC (Rockwater) was a company

headquartered in Canonsburg, Pennsylvania, with facilities in the

Middte District of Pennsylvania and the Western District of

Pennsylvania. Rockwater provided services to the hydraulic fracturing

industry in Pennsylvania, including the provision and transportation of

water and wastewater. Rockwater was a downstream subsidiary of

Rockwater Energy Solutions, Inc., a Houston, Texas-based company.

     2.   JOSEPH POWELL was the General Manager of Water
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Management for Rockwater. As General Manager, JOSEPH POWELL

supervised Rockwater facilities located in Linden, Pennsylvania, within

the Middle District of Pennsylvania, and Hickory and Avella,

Pennsylvania, within the Western District of Pennsylvania.

     3.    GA\aIN REXER was the Shop Manager for the Rockwater

facility located in Linden, Pennsylvania, within the Middle District of

Pennsylvania.

     4.    JOHN JOSEPH was the Shop Manager for the Rockwater

facitity Iocated in Hickory, Pennsylvania, within the Western District of

Pennsylvania.

     5.    DENNIS PAULHAMUS was the owner and operator of DJ

Paulhamus Trucking, an unincorporated business operating in Jersey

Shore, Pennsylvania, within the Middle District of Pennsylvania. DJ

Paulhamus Trucking provided hauling services to Rockwater.

     6.    TIMOTHY SWEITZER was the owner and operator of

Sweitzer's Garage LLC, and was a Pennsylvania certified vehicle safety

inspector. Sweitzer's Garage LLC was a vehicle service facility

headquartered in Jersey Shore, Pennsylvania, within the Middle


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District of Pennsylvania. Sweitzer's Garage LLC offered repair,

maintenance, and performance installations for diesel vehicles, and

performed Pennsylvania state inspection services.

     7.    The Environmental Protection Agency (EPA) was an agency

of the United States responsible for enforcing and administering the

Clean Air Act.

     8.    The Federal Motor Carrier Safety Administration (FMCSA)

was an agency of the United States Department of Transportation

(USDOT) responsible for regulating the safe and efficient travel of

commercial motor vehicles. Companies that maintained commercial

motor vehicles to transport passengers or haul cargo in interstate

commerce were required to register with the FMCSA and obtain a

USDOT number that served as a unique identifier.

     9.    Rockwater, when it was formerly known as Red Oak Water

Transfer Northeast LLC, registered with FMCSA as an interstate

carrier of oil field equipment and was assigned USDOT number

1893956.




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                   Emissions Systems and Regrrlations

     10. The purpose of the Clean Air Act was to protect and enhance
the quality of the nation's air resources, thus promoting public health

and welfare by, among other things, reducing the emission of

pollutants, such as nitrogen oxides, particulate matter, hydrocarbons,

and carbon monoxide, from motor vehicles.

     11. The Clean Air Act and its implementing regulations
established standards limiting the emission of pollutants from various

classes of motor vehicle engines, including healy-duty diesel engines.

      12. To meet emissions standards, manufacturers of vehicles
bearing heavy-duty diesel engines installed a variety of hardware

emissions control devices, including exhaust gas recirculation systems,

selective catalytic reduction systems, and diesel particulate filters.

After verifying that the emissions control devices conformed to

emissions standards, the EPA issued Certificates of Conformity to

vehicle manufacturers specific to each annual vehicle class.

      13. To enforce compliance with emissions standards, the EPA,
pursuant to its regulatory authority, created regulations requiring


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manufacturers to install on-board diagnostic systems (OBDs) on

vehicles. OBDs monitored emissions-related sensors and the hardware

emissions control devices of heavy-duty diesel engine systems and

components.

      14. OBDs alerted vehicle operators, through a malfunction
indicator light, when a component of the emissions-monitoring system

deteriorated or malfunctioned. When the malfunction was left

unaddressed and the vehicle's emissions exceeded certain emissions

Ievel thresholds, the OBD forced the vehicle's engine to shut down, or

limited the vehicle to a maximum speed of as low as five miles per houri

an effect commonly referred to as "limp mode" or "power reduced mode."

     15. Repairs for malfunctioning or deteriorating emissions
systems on diesel vehicles in "Iimp mode" ordinarily cost between

approximately $1,000 and $10,000. Repairs ordinarily took several

days or weeks to complete, during which time the vehicles were

inoperable.

     16. The Clean Air Act prohibited any person from tampering
with or rendering inaccurate vehicle emissions monitoring devices and


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methods, including OBDs and hardware emissions control devices.

     17. The FMCSA, pursuant to its regulatory authority, required
commercial motor vehicles to pass annual inspections. The FMCSA

delegated the administration ofthose inspections to certain states,

including Pennsylvania, whose inspection standards met minimum

federal standards.

     18. In Pennsylvania, the Pennsylvania Department of
Transportation (PennDOT) oversaw motor vehicle safety inspection

programs. PennDOT, pursuant to its regulatory authority, required

commercial diesel-powered motor vehicles to pass a safety inspection,

and prohibited any device or modification that bypassed exhaust system

emissions components. Pennsylvania prohibited the intentional

modification or alteration of a factory-installed smoke control system on

diesel-powered vehicles and their fuel systems that limited the system's

ability to control smoke. Pennsylvania also prohibited removal of the

smoke control system, except for repair or installation of a proper

replacement. Pennsylvania further prohibited disabling, altering, and

changing an emission control system of a vehicle, requiring all original



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emissions control components to be present and functioning.

      19. PennDOT required annual vehicle safety inspections to
ensure that vehicles were maintained for safe operation. The safety

inspection procedure included inspection and testing ofa variety o1

vehicle components, including hardware emissions systems. Certified

vehicle safety inspectors performed vehicle safety inspections at official

PennDOT inspection stations. Certified vehicle safety inspectors

affixed a certificate to vehicles that passed inspection, to demonstrate

compliance with PennDOT inspection standards, and reported the

inspection results to PennDOT.

                 Emissions System Tamperine Devices

      20. Hardware emissions control devices and OBDs could be
disabled on commercial vehicles bearing healy-duty diesel engines,

using a variety of aftermarket devices. Disabling the emissions control

systems defeated their ability to limit pollutant gases and particulate

matter into the atmosphere.

      21. One method used to disable hardware emissions control
devices was to remove the portion of the vehicle's exhaust system that



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contained the emission control devices and replace it with a section of

exhaust tubing or a "straight pipe" that did not limit emissions.

      22. Another, generally less expensive method used to disable
hardware emissions control devices was to remove certain components,

such as the selective catalytic reduction system and diesel particulate

filter, by hollowing out their casing in the vehicle's exhaust pipe, and

then re-welding the entry point to create the false appearance that the

hardware emissions control devices remained installed.

      23. OBDs detected disabling modifications to the hardware
emissions control devices on vehicles. Thus, any modifications to the

hardware emissions control devices necessarily included a

contemporaneous disabling of the OBD, to avoid the vehicle going into

"limp mode."

     24. The devices used to disable OBDs commonly were referred to
as "defeat devices," "DPF defeats," "delete devices," "tuners,"

"performance tuners," "conversion kits," and "programmers,"

(collectively referred to as "defeat devices"). Several manufacturers

offered a variety of defeat devices.



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      25. One type ofdefeat device was an apparatus that plugged
into a vehicle's data link connector to "tune" the OBD. Those defeat

devices, when plugged in, allowed the vehicle operator to activate at

will the software modifications that manipulated the OBD.

      26. Another type of defeat device was a software program that
reprogrammed, or "flashed," the vehicle's diesel engine computer

module, through use of a computer or electronic device that modified

the OBD after being connected to the vehicle on a single occasion.

Those defeat devices permanently adjusted the diesel engine timing and

other parameters to bypass the OBD.

      27. In addition to disabling the OBD, defeat devices also
improved heavy-duty diesel engines'horsepower, torque, and fuel

efficiency.




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THE UMTED STATES ATTORNEY CHARGES:

                            COUNT ONE
            Conspiracy to Defraud the United States and to
              Violate the Clean Air Act, 18 U.S.C. S 371

     28. The factual allegations ofparagraphs 1 through 27 ofthis
Information are incorporated here.

     29. From on or about August 1, 2013, the exact date being
unknown to the United States Attorney, and continuing thereafter until

on or about June 30, 2014, in the Middle District of Pennsylvania, and

elsewhere, the defendants,

                          GAVIN REXER,
                       DENNIS PAULHAMUS,
                         JOSEPH POWELL,
                        JOHN JOSEPH, and
                       TIMOT}IY SWEITZER,

knowingly and willfully conspired, combined, confederated, and agreed

together and with other persons both known and unknown to the

United States Attorney, to:

        a. defraud the United States by impairing, impeding,

           obstructing, and defeating the lawful functions ofthe federal

           government, that is, the EPA's function of implementing and



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           enforcing emissions standards for air pollutants for diesel

           vehicles under the Clean Air Act. and the FMCSA's function

           of implementing and enforcing annual inspections standards

           for commercial motor vehicles, by deceitful and dishonest

           means, in violation of Title 18, United States Code, Section

           371i and

        b. violate the Clean Air Act by tampering with and rendering

           inaccurate monitoring devices and methods required

           pursuant to the Clean Air Act to be maintained and followed,

           in violation of Title 42. United States Code. Section

           7413(c)(2)(C).

                            Manner and Means

     The objects of the conspiracy were accomplished, in part, by the

following manner and means:

     30. GAVIN REXER, JOSEPH POWELL, and JOHN JOSEPH
agreed together and with other co-conspirators to reduce the repair

costs and maintenance down time triggered by malfunctioning or




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deteriorating emissions systems on Rockwater commercial motor

vehicles containing heavy-duty diesel engines.

     31. GAVIN REXER, JOHN JOSEPH, and other co-conspirators
replaced and caused to be replaced hardware emissions control devices

on Rockwater commercial motor vehicles containing heavy-duty diesel

engines with exhaust tubing or "straight pipes."

     32. GAVIN REXER, JOHN JOSEPH, TIMOTHY SWEITZER,
and other co-conspirators removed and caused to be removed hardware

emissions control devices on Rockwater commercial motor vehicles

containing heavy-duty diesel engines, by extracting the emissions

control devices from their compartments, and then re-welding the entry

point to create the false appearance that the hardware emissions

control devices remained installed.

     33. GAVIN REXER and other co-conspirators sold titanium and
other metals extracted from the hardware emissions control devices.

     34. GAVIN REXER, JOSEPH POWELL, JOHN JOSEPH, and
other co'conspirators approved ofRockwater purchasing and arranged

for Rockwater to purchase defeat devices from DENNIS PAULHAMUS.


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     35. GAVIN REXER, JOSEPH POWELL, JOHN JOSEPH, ANd
other co-conspirators approved of Rockwater purchasing and arranged

for Rockwater to purchase defeat devices from TIMOTHY SWEITZER

and Sweitzer's Garage LLC.

     36. The defendants and other co-conspirators concealed and
caused to be concealed the purchase ofthe defeat devices in purchase

invoices and in Rockwater's books and records, including by mislabeling

the defeat devices as "complete exhaust systems" and "replace exhaust

systems."

     37. The defendants and other co-conspirators used and caused to
be used defeat devices to disable the OBDs on Rockwater vehicles whose

hardware emissions control devices had been removed.

     38. GAVIN REXER, JOHN JOSEPH, and other co-conspirators
arranged and caused to be arranged for Rockwater vehicles with

disabled OBDs and hardware emissions control devices, to undergo

annual PennDOT vehicle safety inspections by TIMOTHY SWEITZER,

Sweitzer's Garage LLC, and other co'conspirators.




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     39. TIMOTIIY SWEITZER, Sweitzer's Garage LLC, and other
co-conspirators knowingly and intentionally issued certificates falsely

stating that Rockwater vehicles with disabled OBDs and hardware

emissions control devices met PennDOT inspection standards.

      40. TIMOTHY SWEITZER, Sweitzer's Garage LLC, and other
co'conspirators knowingly and intentionally submitted and caused to be

submitted vehicle safety inspections reports to PennDOT stating that

Rockwater vehicles with disabled OBDs and hardware emissions

control devices had passed safety inspections.

                               Overt Acts

     In furtherance ofthe conspiracy and to effect the objects ofthe

conspiracy, the following overt acts, among others, were committed in

the Middle District of Pennsvlvania and elsewhere:

     4L. Between on or about August l, 2013and June 30, 2014,
GAVIN REXER, JOHN JOSEPH, and other co-conspirators removed

hardware emissions control devices from more than 30 Rockwater

commercial motor vehicles containing heavy-duty diesel engines.




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      42. Between on or about September l,2Ol3 and May L6, 2014,
GAVIN REXtrR, JOHN JOSEPH,, and other co-conspirators caused

Rockwater to purchase at least 27 defeat devices and "straight pipes"

from DENNIS PAULHAMUS for approximately $62,000, including

premium mark-ups paid to DENNIS PAULHAMUS for his personal

profit.

          43. Between on or about September 1, 2013 and May 16,2014,
DENNIS PAULHAMUS issued and caused to be issued at least 16

invoices to Rockwater for defeat devices and "straight pipes," in which

the defeat devices and "straight pipes" were mislabeled as "complete

exhaust system."

      44. Between on or about April 14, 201.4 and Jwe 27, 2014,
GAVIN REXER, JOHN JOSEPH, and other co-conspirators caused

Rockwater to purchase and trade for approximately 20 defeat devices

from TIMOTHY SWEITZER and Sweitzer's Garage LLC, for

approximately $1,200 and other remuneration, including premium

mark-ups paid to TIMOTHY SWEITZER and Sweitzer's Garage LLC

for their personal profit.



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      45. Between on or about April 14, 2014 andJune 27,2014,
TIMOTHY SWEITZtrR and Sweitzer's Garage LLC issued and caused

to be issued approximately seven invoices to Rockwater for defeat

devices, in which the defeat devices were mislabeled as various

iterations of the phrase "replaced exhaust system."

      46. Between on or about September 1, 2013 and June 30,2014,
GAVIN REXER, JOHN JOSEPH, and other co'conspirators used defeat

devices to disable the OBDs for more than 30 Rockwater vehicles whose

hardware emissions control devices had been removed.

      47. Between on or about August l, 2013and June 30, 2OI4,
JOSEPH POWELL and other co-conspirators approved the purchase of

defeat devices from DENNIS PAULHAMUS, TIMOTHY SWEITZER,

and Sweitzer's Garage LLC, and their installation on Rockwater

vehicles.

      48. Beginning in or about September 2013, TIMOTHY
SWtrITZER, Sweitzer's Garage LLC, and other co-conspirators passed

for annual inspection Rockwater vehicles with disabled OBDs and




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hardware emissions control devices, and reported the inspections to

PennDOT.

     All in violation of Title 18. United States Code, Section 371.


                                        DAVID J, FREED
                                        United States Attorney


     D.t", fioY 23t eA$           By:
                                        PHILLIP J. CARABALTCI
                                        Assistant United States Attorney



                                        SEAN CAMONI
                                        Assistant United States Attorney


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                                        PATRICIAC. MILLER
                                        Special Assistant United States
                                        Attorney




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